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10                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
11
      UNITED STATES OF AMERICA,
12                                             NO. CR-07-2022-EFS-2
                       Plaintiff,
13                                             ORDER RULING ON PRETRIAL
                 v.                            MOTIONS AND CONTINUING
14                                             PRETRIAL AND TRIAL AND
      DANIEL DAVID MARTINEZ,                   EXCLUDING SPEED TRIAL ACT TIME
15
                       Defendants.
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          On July 2, 2007, the Court held a hearing in the above-captioned
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     matter. Defendant Martinez was present, represented by Kenneth Therrien,
19
     and James Hagarty appeared on behalf of the Government. Before the Court
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     were Defendant’s Motion for Discovery (Ct. Rec. 21), Motion in Limine
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     (Ct. Rec. 62), and Motion Appealing Detention Order (Ct. Rec. 69).                At
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     the hearing Defendant advised the Court that he joins in Co-Defendant
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     Alonzo-Flores’ Motion to Continue (Ct. Rec. 79). After reading submitted
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     material and relevant authority and hearing oral argument, the Court was
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     fully informed.     This Order serves to supplement and memorialize the
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     Court’s oral rulings.


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1                         I. Defendant’s Motion for Discovery

2         As part of Defendant’s motion, Defendant made 21 separate requests

3    for discovery.      The Court addressed the requests as follows:

4         1. Defendant’s Statements - the Government having already provided

5    Defendant’s statements, this request is DENIED AS MOOT.

6         2. Documents, Statements, Reports, and Tangible evidence - the

7    Government having already provided the requested material, this request

8    is DENIED AS MOOT.

9         3. Prior Record/Other Acts Evidence - GRANTED (the Government shall

10   provide Defendant with any additional information it obtains regarding

11   Defendant's criminal history, and what evidence if any it intends to

12   introduce at trial).

13        4. Seized Evidence - GRANTED (the Government shall make seized

14   evidence available for examination by counsel for Defendant).

15        5.   Agent's    Reports,    Notes,    Memos     -   DENIED     AS   MOOT   IN   PART

16   (discoverable material already provided) and DENIED IN PART (rough notes

17   and memos are not discoverable).

18        6.   Other   Docuemts/Tangible       Evidence       -   the   Government     has   no

19   objection to this request.       GRANTED.

20        7. Bias of Government Witnesses - GRANTED (the Government shall

21   provide any such evidence of which it becomes aware).

22        8. Prior Record/Other Acts of Government Witnesses - GRANTED (the

23   Government shall provide any such evidence of which it becomes aware).

24        9. Investigation of Witnesses - GRANTED (the Government shall

25   provide any such evidence of which it becomes aware).

26        10. Evidence Regarding Ability to Testify - GRANTED (the Government

     shall provide any such evidence of which it becomes aware).

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1         11. Personnel Files - GRANTED IN PART (the Government will review

2    and provide the requested information regarding personnel files of

3    federal agents and state agents if they were involved in a federal task

4    force).

5         12. Government Witnesses - Because neither party is required to

6    provide a list of witnesses, this request is DENIED.

7         13. Other Witnesses - Defendant requests the names and addresses of

8    all witnesses to the alleged crimes who will not be called by the

9    Government.     The Government did not respond directly to Defendant’s

10   request.    As noted above, neither party is required to provide a list of

11   witnesses, therefore, Defendant’s request is DENIED.

12        14. Favorable Testimony - GRANTED (the Government shall provide any

13   such evidence of which it becomes aware).

14        15. Specific Inquires of Agents - the Government has agreed to make

15   the requested inquiry and will provide a supplemental report if needed.

16   GRANTED.

17        16. Rule 26.2 Material - GRANTED (the Government shall provide any

18   additional information required by Federal Rule of Criminal Procedure

19   26.2 and the Jencks Act).

20        17. Expert/Resumes - GRANTED IN PART (the Government will provide

21   any additional information regarding their experts within 30 days of the

22   date of this Order).

23        18. Expert's Reports and Summaries - GRANTED (the Government will

24   provide any additional material required under Rule 16 within 30 days of

25   the date of this Order).

26        19. Confidential Informants and Related Information - GRANTED IN

     PART (if the Government intends to call the confidential informant as a

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1    witness at trial, the Government must disclose the requested information

2    no later than October 5, 2007).

3         20. Promises or Deals with Government Witnesses - GRANTED IN PART

4    (if the Government intends to call the confidential informant as a

5    witness at trial, the Government must disclose the requested information

6    no later than October 5, 2007).

7         21. Minutes of Grand Jury - the Government argues that it does not

8    have possession or control of the minutes of the Grand Jury proceedings.

9    DENIED.

10        22. Grand Jury Transcripts - GRANTED IN PART (the Government shall

11   provide grand jury transcripts no later than two weeks prior to trial).

12        23. Statement by Government of Refusal to Provide Evidence - GRANTED

13   (the Government shall specifically indicate any requested material that

14   it refuses to produce).

15                                 II. Motion in Limine

16        Defendant seeks to exclude from evidence recordings of conversations

17   that he did not participate in.         Defendant predicts that the Government

18   will offer such recordings as non-hearsay under Federal Rule of Evidence

19   801(d)(2)(E).    Therefore, Defendant requests that an evidentiary hearing

20   be held in order for Defendant to have the opportunity to dispute the

21   admission of such evidence.

22        The Court finds that an evidentiary hearing is not warranted at this

23   time, therefore, Defendant’s Motion in Limine is DENIED WITH LEAVE TO

24   RENEW prior to the introduction of such evidence at trial.

25                          III. Appeal of Detention Order

26        If there is probable cause to believe that an individual committed

     a drug offense for which the maximum term of imprisonment is 10 years or

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1    more, there is a rebuttable presumption that no condition or combination

2    of conditions will reasonably assure the appearance of the person at

3    subsequent hearings. 18 U.S.C. § 3142(e). A defendant must overcome the

4    presumption that they will not appear in order to qualify for release

5    pending trial.    Defendant has requested release pending trial in order

6    to allow Defendant to participate in a drug treatment program.

7         Here, the Government has established probable cause to believe

8    Defendant   committed      a   drug   offense    for      which   the   maximum   term   of

9    imprisonment is more than 10 years.             Therefore, Defendant must overcome

10   the presumption that he will not appear.

11        In order to allow the parties to brief this issue more thoroughly,

12   the Court HOLDS IN ABEYANCE Defendant’s Appeal of Detention Order (Ct.

13   Rec. 69).   The hearing on this matter is continued to Wednesday, August

14   1, 2007, at 9:00 a.m. in Yakima.

15                                  IV. Motion to Continue

16        Counsel for Defendant indicated he had not had time to fully review

17   the extensive discovery involved in this matter nor had he met with his

18   client regarding potential offers from the Government.                     In connection

19   with the motion to continue, Defendant filed a Statement of Reasons in

20   which he personally requested a continuance and asserted a belief that

21   the requested continuance is needed for counsel to review discovery and

22   prepare the case for trial (Ct. Rec. 92).

23        To ensure defense counsel is afforded adequate time to review

24   discovery and prepare for trial, the Court grants Defendant Martinez’s

25   request to join in Defendant Alonzo-Flores’ motion to continue by

26   extending the pretrial motion deadline and resetting the currently-

     scheduled pretrial conference and trial dates.                In addition, because the

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1    Court     finds   Defendant’s       request    for   a    continuance      was    knowing,

2    intelligent, and voluntary and the ends of justice served by granting a

3    continuance outweigh the best interest of the public and Defendant in a

4    speedy trial, the delay resulting from Defendant’s motion is excluded

5    under the Speedy Trial Act.

6         Accordingly, IT IS HEREBY ORDERED:

7         1. Defendant Martinez’s Motion for Discovery (Ct. Rec. 21) is

8    GRANTED IN PART and DENIED IN PART (as articulated above).

9         2. Defendant Martinez’s Motion in Limine (Ct. Rec. 62) is DENIED.

10        3. Defendant Martinez’s Appeal of Detention Order (Ct. Rec. 69) is

11   HELD IN ABEYANCE.      Defendant’s Appeal of Detention Order will be heard

12   on August 1, 2007, at 9:00 a.m. in Yakima.

13        4. The Court finds, given defense counsel’s need for time to review

14   discovery and prepare for trial, the Court's failure to grant the

15   continuance would result in a miscarriage of justice and would deny

16   counsel    for    Defendant   the    reasonable      time    necessary    for    effective

17   preparation, taking into account the exercise of due diligence.                      See 18

18   U.S.C. § 3161(h)(8)(B)(i), (iv).              The Court, therefore, finds the ends

19   of justice served by granting the continuance in this matter outweighs

20   the best interest of the public and Defendant in a speedy trial.                     See 18

21   U.S.C. § 3161(h)(8)(A).

22        5. All pretrial motions, including motions in limine and Daubert

23   motions, must be filed and served NO LATER THAN August 31, 2007.

24   Responses and replies to any motions shall be filed and served in

25   accordance with LR 7.1(c) and (d).

26           6. The Pretrial Conference is reset from July 2, 2007, to October

     17, 2007, at 9:00 a.m. in Yakima, Washington. At this hearing, the Court

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1    will hear all pretrial motions, including motions in limine and Daubert

2    motions.

3          7. Trial briefs, requested voir dire, and joint proposed jury

4    instructions shall be filed and served NO LATER THAN October 26, 2007.

5    Joint jury instructions should only address issues that are unique to

6    this case, and shall include instructions regarding the elements of each

7    claim or defense, and a proposed verdict form.

8          8. The jury trial is reset from July 30, 2007, to November 5, 2007,

9    at 9:00 a.m. in Yakima, Washington.           Counsel shall meet with the Court

10   in Chambers at 8:15 a.m. on the day of trial.               Any motions unaddressed

11   at the pretrial conference shall be heard in open court on the day of

12   trial at 8:30 a.m., at which time Defendant shall be present.

13         9.    Pursuant to 18 U.S.C. § 3161(h)(8)(B)(i) and (iv), the Court

14   DECLARES EXCLUDABLE from Speedy Trial Act calculations the period from

15   July 2, 2007, the date of the hearing on this matter, through November

16   5, 2007, the new date of the trial, as the period of delay granted for

17   adequate preparation by counsel for Defendant.

18         IT IS SO ORDERED. The District Court Executive is directed to enter

19   this Order and to provide copies to counsel, the U.S. Probation Office,

20   the U.S. Marshal, and the Jury Administrator.

21         DATED this        3rd      day of July 2007.

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23                                  S/ Edward F. Shea
                                       EDWARD F. SHEA
24                              United States District Judge

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